  Case: 4:16-cr-00258-HEA Doc. #: 67 Filed: 09/27/17 Page: 1 of 1 PageID #: 628
                                  4:16CR00258 HEA
EXHIBIT LIST
                                  Exhibits Filed 1-22
1-19: SCREEN SHOTS OF THE FREENET PROJECT WEBSITE:

       1. Screen 1: Freenet Website
       2. Screen 2: download page
       3. Screen 3: language setup
       4. Screen 4: destination location
       5. Screen 5: Setup Folder
       6. Screen 6: Setup Folder
       7. Screen 7: Ready to Install
       8. Screen 8: complete setup
       9. Screen 9: open net/dark net
           9a: close up of Screen 9 warning
       10. Screen 10: security advisory
       11. Screen 11: datastore
       12. Screen 12: bandwidth limits
       13. Screen 13: Freenet Index Sites
       14. Screen 14: Downloading a page
       15. Screen 15: example of a Freenet Index
       16. Screen 16: example of a Freesite for pictures of children
       17. Screen 17: example of a key
       18. Screen 18: download page
       19. Screen 19: download progress

20:    Forensic Summary Page

21:    EXCEL SPREAD SHEET REGARDING INFORMATION ON FILES

22:    SEARCH WARRANT
